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                       UNITED STATES DISTRICT
                    FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA          )
                                  )
                                  )
v.                                )      Case No. 21-cr-00303-ABJ
                                  )
DEBORAH LEE                       )
                                  )
                                  )
                Defendant         )
                                  )



             DEFENDANT DEBORAH LEE’S MOTION IN LIMINE
                INFLAMMATORY WORDS AND PHRASES




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        NOW COMES Defendant DEBORAH LEE, by and through her counsel of record, John

M. Pierce, Esq., and respectfully request this Honorable Court issue an in limine Order precluding

Government representatives – including prosecutors and witnesses -- from using terms and

phrases which are unnecessarily inflammatory and likely to appeal to the emotions of the jurors,

including words/phrases such a “terrorist/terrorism,” “insurrection,” “sedition,” “treason,” “attack

on the Capitol,” “attack on democracy”, “attack on Congress”, etc.

        Federal Rule of Evidence 403 allows for the limitation of otherwise relevant evidence

when:

               Relevant evidence may be excluded if its probative value is
               substantially outweighed by the danger of unfair prejudice,
               confusion of the issues or misleading the jury, or by considerations
               of undue delay, waste of time, or needless presentation.

        Maybe never before have the oft cited words of Justice Sutherland in United States v.

Berger been as applicable as they are in the trials with regard to the events of January 6:

               The United States Attorney is the representative not of an ordinary
               party to a controversy, but of a sovereignty whose obligation to
               govern impartially is as compelling as its obligation to govern at all,
               and whose interest, therefore, in a criminal prosecution is not that it
               shall win a case, but that justice shall be done. As such, he is in a
               peculiar and very definite sense the servant of the law, the two-fold
               aim of which is that guilt shall not escape or innocence suffer. He
               may prosecute with earnestness and vigor -- indeed, he should do
               so. But, while he may strike hard blows, he is not at liberty to strike
               foul ones.

        United States v. Berger, 295 U.S. 78, 88 (1935).

        The defendants are charged with assault, robbery, and obstructing an official proceeding.

They are not charged with attempting to overthrow the Government of the United States nor are

they charged with attempting to interfere with the “lawful transfer of power” as the Government

has alleged by the Government in other case(s).
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       They are charged with assaulting law enforcement officers, stealing some equipment from

those officers, and obstruction. That’s the case the government has brought and that is the case

the government should try.

       The defendants already face a tremendous “headwind” in public sentiment within the juror

pool in the District of Columbia. This Court has the obligation to ensure that jurors can set aside

any personal views or opinions they might have formed about the events of January 6 or persons

alleged to have been involved in committing crimes on that day.

       This effort is only made more difficult by the use of inflammatory language on the part of

prosecutors or government witnesses of the kind set forth above. As Justice Sutherland went on

to observe:

               It is fair to say that the average jury, in a greater or less degree, has
               confidence that these obligations, which so plainly rest upon the
               prosecuting attorney, will be faithfully observed. Consequently,
               improper suggestions, insinuations, and, especially, assertions of
               personal knowledge are apt to carry much weight against the
               accused, when they should properly carry none.

       Id.

       Such references have no relevance to the issue of guilt or innocence and would serve only

to inflame and prejudice the jury. Since such references have no probative value, and are unduly

prejudicial to the defendant and misleading, they should not be allowed. The media and the

government in its own filings and arguments have used such terms; however, such terms are

conclusory rather than fact—it is not for the government to make such determinates of the

defendants and labeling them as such is for the sheer motive of is arouse the jury’s emotions.

       The decision for the court turns to the elements of each count the government much prove.

With a continues use of such terms, the court need to be concerned with the jury interoperation of

their use—again drawing inference of the government having already labeled them with such terms

before a jury could ultimately determine such labels to be true—but also, the court should be
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concerned with the jury and the likelihood the focus and weight of their determination is based on

the government and its labels of the defendants and not on the government actual ability of proving

each element of the crime.

        As example—the use of the term terrorist—a natural reaction to the term would be

someone associated with an extremist group and those that attacked the World Trade Center in

New York, New York. “Attack on the capital”—that phrase is the end result—it is for the jury to

make the determination if the events of January 6, 2021, were truly an “attack.” Further,

insurrection, it is for the jury to determine if there was an insurrection not for the government tell

the jury there was an insurrection. The jury, and the jury alone are to make the judgment if the

evidence presented by the government shows an attack on the capital by insurrections and

terrorists.



Date: June 13, 2022                            Respectfully submitted,



                                                /s/ John M. Pierce
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                                   CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, June 14, 2022, I caused a copy of the foregoing

document to be served on all counsel through the Court’s CM/ECF case filing system.



                                                /s/ John M. Pierce
                                                John M. Pierce




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